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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                   FOR THE EASTERN DISTRICT OF TEXAS
                                                         BEAUMONT DIVISION

                                                                                                  §      Case:     2310485
                                                                                                  §
   IN RE: CALVIN GARY WALKER                                          xxx-xx-7424                 §      Chapter 13
                                                                                                  §
              3710 ROLAND ROAD                                                                    §
              BEAUMONT, TX 77708                                                                  §

              Debtors
                                                                                                                                     1

                               TRUSTEE’S CONFIRMATION REPORT, WITNESS & EXHIBIT LIST
                                               (Hereinafter referred to as "Trustee's Confirmation Report)
                                           2
     ATTORNEY FOR DEBTOR: TAGNIA FONTANA CLARK
         CHAPTER 13 TRUSTEE: Lloyd Kraus
        Over Median Income Debtor.
     x Trustee certifies this is a case involving a Debtor engaged in business.
        Prior Denials (or Continuances that counted as a Denial):                                        2/22/2024
        Objections to Confirmation by Third Parties:
        I. Budget Information
                               A. Monthly Income                                                         $2,559.00
                               B. Monthly Expenses                                                       $2,228.33
                               C. Difference                                                              $330.67
                               D. Date Budget Filed                                                      12/1/2023
        II. Meeting of Creditors
                                             Concluded?:        No

              III. Summary of Plan
                                 A.    Date Plan Filed:                    3/27/2024
                                 B.    Due Date for first payment:         12/31/2023
                                 C.    Monthly payment amounts to be paid under the Plan:
               Monthly Payment Amounts      Number of Monthly Payments             Total to be Paid
                       $300.00                             5                         $1,500.00
                       $500.00                             8                         $4,000.00
                     $64,500.00                            1                         $64,500.00
                      $1,000.00                            11                        $11,000.00
                     $64,500.00                            1                         $64,500.00
                      $1,000.00                            11                        $11,000.00
                     $64,500.00                            1                         $64,500.00
                      $1,000.00                            11                        $11,000.00
                     $64,500.00                            1                         $64,500.00
                      $1,000.00                            10                        $10,000.00

                                     D. Calculation of Estimated Net Amount Available to Creditors:
                                                                                                        $306,500.00
          1             For Chapter 13 Plans filed on or after 12/1/2017 using the Court's New Form Plan 3015-a.
          2 The use of the singular term "Debtor" in this Trustee's Confirmation Report includes both debtors when the case has
                                         been initiated by the filing of a joint petition by spouses.
                             Minimum Plan Base (sum of plan payments)*:                                 $306,500.00
                               Trustee Fees (10% of Minimum Plan Base):                                  $30,650.00
                                      Net Amount Available to Creditors:                                $275,850.00

      *       This amount to increase by applicable portion of tax refunds and non-exempt portion of lawsuit
                    recovery, if any, to be added to plan base during the pendency of this bankruptcy.

                                     E. Disbursements to be made by Trustee pursuant to following Schedules.

                                               Schedule A (Section 3.2 of Plan)
               Trustee to Cure Defaults (Arrears) and Debtor to Maintain Direct Payment Obligations
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                                                                                 Plan
                                           Collateral       Projected Cure Interest       Projected Monthly      Projected Total
               Claimant
                                                                                               Payment                Paid
                                           Description      Claim Amount     Rate



                                        Schedule B (Section 3.3 of Plan)
                     Trustee to Pay Secured Claims Protected from Section 506 Bifurcation
                                        (Non-cram down "910 Claims")
                                                                                 Plan
                                                                                            Equal Monthly        Projected Total
               Claimant                    Collateral          910 Claim       Interest
                                                                                              Payment                 Paid
                                           Description          Amount           Rate



                                        Schedule C (Section 3.4 of Plan)
                    Trustee to Pay Secured Claims Subject to section 506 Bifurcation
                                 ("506 Claims" subject to cram down)
                                                     506 Claim         Plan
                                                                                Equal Monthly   Projected Total
             Claimant                Collateral    Amount to Be Interest
                                                                                   Payment           Paid
                                    Description         Paid           Rate
       INTERNAL REVENUE             DEBTOR'S        $108,018.35       3.00%             $175.00     $116,769.83
         UNITED RENTALS            BOOM 46-50'       $7,298.77        9.50%             $175.00        $9,372.22
                                    TOWABLE
                                    CAT/CLASS
                                      310-5023

                                        Schedule D (Section 3.9 of Plan)
                                              Debtor's Lien Avoidance

                                                                 If No,     Plan
                                         Fully Avoided                             Estimated Monthly Projected Total
    Claimant/Collateral Description                         Remaining 506 Interest
                                           (Yes/No)                                Payment by Trustee     Paid
                                                             Amount to be   Rate
                                                            Paid by Trustee


                                        Schedule E (Section 4.3 of Plan)
                               Trustee shall pay allowed balance of Attorney's Fees
                         Attorney                                   Total Fees             Down Payment         Allowed Balance
             TAGNIA FONTANA CLARK                                  $5,500.00                $887.00                    $4,613.00
      Attorney has elected the "No Look" fee as set forth in LBR 2016(h)(1) unless otherwise indicated:
          Fee Application.
                                          Schedule F (Priority Claims)
              Section 4.4 and 4.5 of Plan: Trustee shall pay Domestic Support Obligations (DSO)
                                                                                Projected Monthly
                                                             Projected Claim                                       Estimated
                     DSO Claimant                                                   Payment by
                                                                Amount                                               Total
                                                                                       Trustee


                    Section 4.6 of Plan: Trustee shall pay Taxes and Other Priority Claims
                                                                                  Projected Monthly
                                                            Projected Claim                                        Estimated
                   Priority Claimant                                                 Payment by
                                                                Amount                                               Total
                                                                                       Trustee
                JEFFERSON COUNTY                               $79,491.40              $750.00                     $96,838.32
                  SABINE PASS ISD                              $25,182.49              $150.00                     $30,677.91

                                       Schedule G (Section 5.1 of Plan)
                              Treatment of Special Class Nonpriority Unsecured Claims
             If allowed, the Trustee shall pay the nonpriority claims listed below as specially classified as
                  follows. If disallowed, the Claimant will be paid pursuant to Section 5.2 of the Plan.
                                                                                           Projected Claim         Estimated
                    Unsecured Claimant/Reason for Special Class
                                                                                                Amount               Total
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               F. Calculation of Projected Net Amount Available to the Unsecured Creditors:
        Net Amount Available to Creditors                [Paragraph
                                                                                      $275,850.00
                                III(D) above]
         Sum of Disbursements to be made by Trustee pursuant to
          Schedules A, B, C, D, E, F, and G from Paragraph III(E)                     $258,271.28
                                    above
             Projected Net Amount Available to the Unsecured
                                                                                       $17,578.72
                                  Creditors
           Total Unsecured Claims (less priority) as scheduled by
                                                                                      $107,728.15
              Debtor in Debtor's Schedules E/F as filed herein
              Projected Percentage Dividend to the Unsecured Creditors                          16%

                G.
                 Required Means Test Dividend:
                     Line 45 of Debtor's Means Test                                             $0.00
        Required Dividend to the Unsecured Creditors per Debtor's
                   Means Test (Line 45 x 60 Months)

         H. All allowed nonpriority unsecured claims shall be paid by the Trustee as follows (Per Section 5.2 of the Plan):
                               100 % plus interest at __%
                               100 % plus interest at __% with no future modifications to treatment under this
                               section
                               Pro Rata Share of all funds remaining after payment of all secured, priority, and
                   x
                               specially classified unsecured claims

         I.      Miscellaneous "Other" Provisions Contained in Plan:

                                             Schedule A (Section 3.5 of Plan)
                            Debtor shall pay Direct Payments of Secured Claims Not in Default
                                Claimant                                       Collateral Description
                     AMERICREDIT, dba GM FINANCIAL                               2018 GMC Denali

                                                 Schedule B (Section 3.6 of Plan)
                                                 Debtor shall Surrender Property
                                     Claimant                                          Collateral Description


                                               Schedule C (Section 6.1 of Plan)
              Debtor's assume these Executory Contracts and Unexpired Leases; Reject all other unlisted Executory
                                               Contracts and Unexpired Leases
                                    Claimant                                     Collateral Description


                                                    Schedule D (Part 8 of Plan)
                                             Inclusion of Nonstandard Plan Provisions

        IV. Trustee makes the following Recommendation Concerning the Proposed Plan:

                                  A. Applicable to all cases: (1) plan payments must be current at the time of the
                                  scheduled confirmation hearing; (2) all agreements with creditors must be “called” for
                                  Court approval of same pursuant to LBR 3015(f); and (3) all such creditor agreements
                                  must be incorporated into the form Confirmation Order (letter agreements are no longer
                                  to be attached to the Confirmation Order) with the creditor’s acceptance of the
                                  agreement being evidenced by the creditor’s signature on the Confirmation Order.
                                  B. Subject to Paragraph A, the Plan should be confirmed.
                                                                            OR
                     x            C. Subject to Paragraph A, Trustee makes the following objections to the Plan:

                                  a. Debtor's Failure to Prosecute Case

                                  1. Debtor has failed to make monthly Chapter 13 plan payments or has a poor history of
                                  making monthly plan payments pursuant to 11 USC 1326(a)(1) and/or has failed to dedicate all
                                  disposable income by Debtor’s failure to make Chapter 13 plan payments during the initial
                                  months of the Plan.
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                         2. Debtor has failed to file with the Court proper certification that all post-petition payments
                         (mortgage, DSO, auto payments, etc.) are being made direct by the Debtor as provided for in the
                x        proposed Plan.

                         3. Debtor’s filing of the Petition was not in good faith pursuant to 11 USC 1325(a)(7) and/or
                         Debtor has not proposed Plan in good faith or by any means forbidden by law pursuant to 11
                         USC 1325(a)(3).


                         b. Plan Deficiency

                         4. Debtor has failed to file a plan or use the proper form Plan pursuant to LBR 3015(a) or
                         provide sufficient notice of said Plan per LBR 3015(f) in order to be considered for upcoming
                         confirmation hearing.
                         5. Plan fails to provide adequate protection payments to one or more claims secured by
                         personal property.
                         6. Plan proposes Debtor make direct Plan payments to Trustee without Trustee’s
                         permission.
                         7. Attorney’s fees require Court approval in that the requested amount exceeds that amount
                         as set forth in LBR 2016(h).
                         8. Plan appears to be underfunded.
                         9. Plan prefers specific unsecured claims which violates 11 USC 1322(a)(3) and 1322(b)(1)
                         by discriminating against other unsecured creditors.
                x        10. Plan proposes direct payment on personal property without sufficient justification.

                         c. 341(a) Meeting and Documents
                         11. Trustee has been unable to conduct and/or conclude a Meeting of Creditors per 11 USC
                x        341:
                            Debtor failed to appear.
                            Debtor appeared but meeting was not held or concluded for following reason(s):

                           Debtor failed to provide to Trustee requested documents with sufficient time to review
                           prior to scheduled meeting.
                           Debtor failed to provide copies of all payment advices or other evidence of payment by
                         x the Debtor in the 60 days prior to the filing of the Petition per LBR 1007(e). P&Ls
                           Debtor failed to provide copy of the Federal Income Tax Return as required under
                           applicable nonbankruptcy law for the most recent tax year ending immediately before
                           the commencement of the case for which a federal income tax return was filed pursuant
                           to 11 USC 521(3)(2)(A)(i).
                         12. Trustee has requested amendments, documents, information, and/or verification as
                         outlined in the Trustee’s Report on 341 Creditors’ Meeting filed with the Court. To the
                         extent said amendments, documents, information, and/or verifications have not been timely
                         provided, the Trustee alleges that such constitutes a breach of the Debtor’s duties as set
                x        forth in 11 USC 521. Additionally, 2023 tax return.

                x        13. Debtor has failed to file monthly operating reports as required by LBR 2015(a).

                         d. Budgetary Issues
                         14. Debtor has insufficient disposable income to fund the proposed modifications for the
                         following reason(s):
                             Per Budget
                             Unemployment income and/or other income as listed on Schedule I will or has ended.
                             Lump sum payment is speculative.
                             Other:

                         15. Debtor has failed to dedicate all of Debtor’s projected disposable income to be received in
                x        the applicable commitment period for the following reason(s):
                          x Per budget. Mo. 6-60
                             Term of plan is less than the Applicable Commitment Period and such fails to provide
                             for payment in full of all of the unsecured creditors, including interest.
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                                    Failed to dedicate income from new job and/or other sources that are not otherwise
                                    disclosed.
                                    Provides for the payment of the following items that are not otherwise necessary for the
                                    effective reorganization of the Debtor:
                                    Excessive expenses:
                                    Plan fails to step-up Plan payment when the following direct payment obligation(s)
                                    conclude: Americredit, dba GM Financial (Sept. 2024).
                                x
                                    Other:


                               e. Requred Dividend to Unsecured Creditors


                               16. Debtor has failed to file and/or accurately complete Form 22C (Statement of Current
                               Monthly Income and Calculation of Commitment Period as follows:


                               17. Plan fails to provide for the payment of the minimum dividend to the unsecured creditors
                               pursuant to Form 22C (Statement of Current Monthly Income and Calculation of Commitment
                               Period and disposable Income).
                               18. Plan does not meet the Best Interests of Creditors Test as set forth in 11 USC 1325(a)(4) as
                               Plan fails to provide a dividend to the unsecured creditors in a sufficient amount to equal
                               Debtor’s equity interest in non-exempt real and/or personal property. $513,584.52. 100% plus
                  x            5% language required.

                               f. Required Plan Notice and Miscellaneous Objeections

                               19. IF DEBTOR INTENDS TO SET VALUE AT CONFIRMATION OF COLLATERAL
                               SECURING 506 CLAIMS: Evidentiary hearing is required under Section 3.10 [applicable if
                               Debtor intends to set value of the collateral where Debtor must demonstrate (1) service of Plan
                               on affected Claimant; (2) credible, objective basis for the Debtor’s opinion on value; and (3) an
                               entitlement to the relief sought by a preponderance of the evidence presented].
                                   Debtor failed to check box for “Included” in Paragraph 1.1 of the Plan.
                               20. IF DEBTOR INTENDS TO AVOID LIEN UNDER SECTION 3.9 OF PLAN:
                               Evidentiary hearing is required under Section 3.9 [applicable if Debtor intends to avoid lien
                               where Debtor must demonstrate (1) service of Plan on affected Claimant; and (2) an entitlement
                               to the relief sought, including the claims of exemptions relied upon by the Debtor has, in fact,
                               been sustained].
                                   Debtor failed to check box for “Included” in Paragraph 1.2 of the Plan.
                               21. IF DEBTOR INTENDS TO SEEK LIEN REMOVAL BASED UPON
                               UNSECURED STATUS UNDER SECTION 3.11 OF PLAN: Evidentiary hearing is
                               required under Section 3.11 [applicable if Debtor intends to seek lien removal based upon
                               unsecured status where Debtor must demonstrate (service of Plan on affected Claimant;
                               credible, objective basis for the Debtor’s opinion regarding asset values; and (3) an
                               entitlement to the relief sought by a preponderance of the evidence presented].
                                   Debtor failed to check box for “Included” in Paragraph 1.2 of the Plan.


                               22. IF DEBTOR INCLUDES NON-STANDARD PLAN PROVISIONS IN PART 8 OF
                               THE PLAN, Trustee objects to these Non-Standard Plan Provisions on the following ground(s):
                  x            23. Other: Need objection reservation language.




        V.   The Trustee reserves the right to call as a witness any or all of the following listed persons in relation to
                                                  confirmation of the Plan:
                              A. Chapter 13 Trustee
                              B. Staff Attorney
                              C. The presiding officer of the meeting of creditors
                              D. Any other employee as custodian of any records of the Trusteeship
                              E. Debtor
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                                F.   Any witness designated by any other party

            VI.   The Trustee reserves the right to introduce into evidence any or all of the following in relation to
                                                  confirmation of the Plan:

                                 A. Copy of the Trustee’s Confirmation Report, Witness and Exhibit List.
                                 B. Copies of any plan, schedules or other pleadings (originals and amended) as filed herein by
                                    the Debtor or any other party.
                                 C. Copies of any proof of claim as filed by any creditor or other party.
                                 D. Copies of any records of the Trustee kept in the regular course of business of the
                                    Trusteeship, including computer printouts of plan payments received and disbursements
                                 E. If Debtor is self-employed, the Debtor’s monthly operating reports/profit and loss
                                    statements provided to the Trustee and/or filed with the Court.
                                 F. Copies of the Debtors’ prior years’ tax returns as provided to the Trustee.
                                 G. Copies of any other documents produced by the Debtor at the Creditors’ Meeting (or as
                                    subsequently produced as requested at the Creditors’ Meeting).
                                 H. Copies of any plan, schedules, pleadings, proof of claim(s), or amendments thereto filed in
                                    any prior bankruptcy cases previously filed by the Debtor as well as any other
                                    documentation produced by the Debtor in the prosecution of said prior bankruptcy cases.
                                 I. Copies of any other exhibits designated by any other party.

                  Copies of these designated Exhibits will be provided by the Trustee upon request


                                                       Respectfully submitted,

                                                       Lloyd Kraus
                                                       Chapter 13 Trustee


                                                       /S/Lloyd Kraus
                                                       Lloyd Kraus, SBN 24066773

                                                       110 N. College Ave. Suite 1200
                                                       Tyler, TX 75702
                                                       (903) 593-7777, Fax (903) 597-1313




                                                CERTIFICATE OF SERVICE
        I hereby certify that a true and correct copy of the above and foregoing document has been served upon the following
        parties in interest by mailing a copy of same to them via first class mail or electronically on:
                         6/4/2024 .



   IN RE: CALVIN GARY WALKER

        3710 ROLAND ROAD
        BEAUMONT, TX 77708

        TAGNIA FONTANA CLARK
        MAIDA CLARK LAW FIRM P C
        4320 CALDER AVE
        BEAUMONT, TX 77706


                                                                          /S/Lloyd Kraus
                                                                          Lloyd Kraus, Trustee
